Case 2:22-cv-06515-MWF-AGR Document 143 Filed 03/28/24 Page 1 of 29 Page ID #:5647



      1   Lawrence Hinkle (SBN 180551)
          lhinkle@sandersroberts.com
      2   Stephanie Jones Nojima (SBN 178453)
          sjonesnojima@sandersroberts.com
      3   SANDERS ROBERTS LLP
          1055 West 7th Street, Suite 3200
      4   Los Angeles, CA 90017
          Telephone: (213) 426-5000
      5   Facsimile: (213) 234-4581
      6 Attorneys for Plaintiffs and Cross-
        Defendants
      7 HIDDEN EMPIRE HOLDINGS, LLC;
        HYPER ENGINE, LLC, AND DEON
      8 TAYLOR AND THIRD-PARY
        DEFENDANT ROXANNE TAYLOR
      9

     10                          UNITED STATES DISTRICT COURT
     11                        CENTRAL DISTRICT OF CALIFORNIA
     12

     13 HIDDEN EMPIRE HOLDINGS, LLC;                    CASE NO. 2:22-cv-06515-MWF-AGR
        a Delaware limited lability company;
     14 HYPER ENGINE, LLC; a California                 Assigned for all purposes to the
        limited liability company; DEON                 Honorable Michael W. Fitzgerald
     15 TAYLOR, an individual,
                                                        DECLARATION OF LAWRENCE C.
     16                      Plaintiffs,                HINKLE, II IN SUPPORT OF
                                                        REQUEST FOR ZOOM STATUS
     17        v.                                       CONFERENCE
     18 DARRICK ANGELONE, an individual;                [Filed Concurrently with Request for
        AONE CREATIVE, LLC formerly                     Zoom Status Conference]
     19 known as AONE ENTERTAINMENT
        LLC, a Florida limited liability                Complaint Filed: September 12, 2022
     20 company; ON CHAIN                               Trial Date: December 10, 2024
        INNOVATIONS, LLC, a Florida
     21 limited liability company,

     22                      Defendants.
     23

     24

     25

     26

     27

     28
                                                   1                 Case No.: 2:22-cv-06515-MWF-AGR
             DECLARATION OF LAWRENCE C. HINKLE, II, IN SUPPORT OF REQUEST FOR ZOOM STATUS
                                            CONFERENCE
Case 2:22-cv-06515-MWF-AGR Document 143 Filed 03/28/24 Page 2 of 29 Page ID #:5648



      1
        DARRICK ANGELONE, an individual;
      2 AONE CREATIVE LLC, formerly
        known as AONE ENTERTAINMENT
      3 LLC, a Florida limited liability
        company; ON CHAIN INNOVATIONS
      4 LLC, a Florida limited liability
        company
      5
                             Counterclaimants,
      6

      7
        HIDDEN EMPIRE HOLDINGS, LLC;
      8 a Delaware limited lability company;
        HYPER ENGINE, LLC; a California
      9 limited liability company; DEON
        TAYLOR, an individual,
     10
                             Counterclaim
     11                      Defendants,
     12 DARRICK ANGELONE, an individual;
        AONE CREATIVE LLC, formerly
     13 known as AONE ENTERTAINMENT
        LLC, a Florida limited liability
     14 company; ON CHAIN INNOVATIONS
        LLC, a Florida limited liability
     15 company,

     16                      Third-Party Plaintiffs,
     17

     18        v.
     19   ROXANNE TAYLOR, an individual,
     20   Third-Party Defendant
     21

     22

     23

     24

     25

     26

     27

     28
                                                   2                 Case No.: 2:22-cv-06515-MWF-AGR
             DECLARATION OF LAWRENCE C. HINKLE, II, IN SUPPORT OF REQUEST FOR ZOOM STATUS
                                            CONFERENCE
Case 2:22-cv-06515-MWF-AGR Document 143 Filed 03/28/24 Page 3 of 29 Page ID #:5649



      1                  DECLARATION OF LAWRENCE C. HINKLE, II
      2         I, Lawrence C. Hinkle, II, declare as follows:
      3         1.     I am an attorney admitted to practice in all the Courts in the state of
      4   California, and am an attorney at Sanders Roberts LLP, counsel of record for Plaintiffs
      5   Hidden Empire Holdings, LLC. (“HEFG”), Hyper Engine, LLC (“Hyper Engine”)
      6   and Deon Taylor. I offer this Declaration in support of Plaintiffs’ Request for Zoom
      7   Status Conference. The facts set forth in this declaration are based on my personal
      8   knowledge, except where otherwise noted, and, if called to testify, I could and would
      9   competently testify thereto.
     10         2.     A true and correct copy of the transcript of the March 18, 2024 hearing
     11   is attached hereto as Exhibit 1.
     12         3.     Following the March 18, 2024 hearing, and the Court’s March 20, 2024
     13   Order directing Sean Merrick to appear at the evidentiary hearing concerning HEFG’s
     14   Motion for Terminating Sanctions, my law partner Stephanie Jones Nojima and I
     15   communicated with counsel for Defendants by email about Mr. Merrick and whether
     16   he will testify at the evidentiary hearing. A true and correct copy of said emails that
     17   were exchanged during the period March 21, 2024 through March 28, 2024 are
     18   attached hereto as Exhibit 2.
     19         Executed this 28th day of March, 2024, at Los Angeles, California.
     20

     21
                                                 ___________________________________
                                                 Lawrence C. Hinkle, II
     22

     23

     24

     25

     26

     27

     28
                                                  2                  Case No.: 2:22-cv-06515-MWF-AGR
            DECLARATION OF LAWRENCE C. HINKLE, II, IN SUPPORT OF REQUEST FOR A ZOOM STATUS
                                           CONFERENCE
Case 2:22-cv-06515-MWF-AGR Document 143 Filed 03/28/24 Page 4 of 29 Page ID #:5650




                 Exhibit 1
Case 2:22-cv-06515-MWF-AGR Document 143 Filed 03/28/24 Page 5 of 29 Page ID #:5651
                                                                        1



  108:57:59                          UNITED STATES DISTRICT COURT

  2                     CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

  3                     HONORABLE MICHAEL W. FITZGERALD, U.S. DISTRICT JUDGE

  4

  5
              HIDDEN EMPIRE HOLDINGS, LLC,          )
  6           et al.,                               )
                                                    )
  7                     Plaintiffs,                 )
                                                    )
  8                           vs.                   )   2:22-CV-6515-MWF
                                                    )
  9           DARRICK ANGELONE, et al.,             )
                                                    )
 10                    Defendants.                  )
              _________________________________
 11

 12

 13                            REPORTER'S TRANSCRIPT OF HEARING

 14                                  Los Angeles, California

 15                                  Monday, March 18, 2024

 16

 17

 18                          ___________________________________

 19

 20

 21

 22
                                      AMY DIAZ, RPR, CRR, FCRR
 23                                  Federal Official Reporter
                                    350 West 1st Street, #4455
 24                                    Los Angeles, CA 90012

 25
                Please order court transcripts here:    www.amydiazfedreporter.com



                       AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
Case 2:22-cv-06515-MWF-AGR Document 143 Filed 03/28/24 Page 6 of 29 Page ID #:5652
                                                                        2



  1           APPEARANCES OF COUNSEL:

  2
              For the Plaintiffs:
  3

  4                           SANDERS ROBERTS LLP
                              By: Lawrence Hinkle, Attorney at Law
  5                                Stephanie Nojima, Attorney at Law
                              1055 West 7th Street, Suite 3200
  6                           Los Angeles, California 90017

  7

  8

  9           For the Defendants:

 10                           KRAMER DEBOER & KEANE
                              By: Sandra Calin, Attorney at Law
 11                           21860 Burbank Boulevard, Suite 370
                              Woodland Hills, California 91367
 12
                              LAW OFFICES OF JT FOX APC
 13                           By: Justin Kian, Attorney at Law
                              556 South Fair Oaks Avenue, Suite 444
 14                           Pasadena, California 91105

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25




                       AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
Case 2:22-cv-06515-MWF-AGR Document 143 Filed 03/28/24 Page 7 of 29 Page ID #:5653
                                                                        3



  109:10:38             THE CLERK:     Calling item number one, case number

  209:10:41   CV-22-6515-MWF, Hidden Empire Holdings, LLC vs. Darrick

  309:10:48   Angelone, et al.

  409:10:50             Counsel, please rise and state your appearance for

  509:10:53   the record.

  609:10:53             MR. HINKLE:     Good morning, Your Honor.     Lawrence

  709:10:55   Hinkle appearing on behalf of the plaintiffs.

  809:10:56             MS. NOJIMA:     Good morning, Your Honor.     Stephanie

  909:10:58   Nojima, also appearing on behalf of the plaintiffs.

 1009:11:00             THE COURT:     Good morning.

 1109:11:05             MS. CALIN:     Good morning, Your Honor.     Sandra Calin

 1209:11:09   for the defendants.

 1309:11:10             MR. KIAN:     Good morning, Your Honor.     Justin Kian

 1409:11:14   for the defendants.

 1509:11:14             MS. CALIN:     Mr. Angelone is also here.

 1609:11:16             THE COURT:     Good morning, Mr. Angelone, and good

 1709:11:16   morning, counsel.

 1809:11:17             We are here on the motion for sanctions arising for

 1909:11:23   two reasons, the first, the alleged violation of the

 2009:11:28   preliminary injunction; and second, the discovery violation

 2109:11:36   by way of spoliation.

 2209:11:38             So I've given you a tentative.       It does seem to me

 2309:11:42   that sanctions would be available for either of those

 2409:11:50   reasons, and I've indicated what I think the attorney's fees

 2509:11:55   should be.




                       AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
Case 2:22-cv-06515-MWF-AGR Document 143 Filed 03/28/24 Page 8 of 29 Page ID #:5654
                                                                        4



  109:11:56             So let me hear first for counsel for the defendants.

  209:12:02             MS. CALIN:    Thank you, Your Honor.

  309:12:03             There are a couple of issues, and I think as I

  409:12:08   mentioned in my brief, there are factual issues.         I think

  509:12:12   that Mr. Angelone can address some of the factual issues.

  609:12:16   And I believe Your Honor asked him to be here, I assume for

  709:12:20   that reason.

  809:12:20             So there are a number of issues.       First, with

  909:12:25   respect to the Google Workspace account, we submitted the

 1009:12:27   report of our expert, Rick Watts, who has indicated that he

 1109:12:33   looked at the Google activity logs.       This is attached to the

 1209:12:38   supplemental declaration as an exhibit, and it's Mr. Watts's

 1309:12:43   final report at page 14, paragraph 39.        And he states that

 1409:12:50   the Google Workspace activity log does not show that

 1509:12:56   Mr. Angelone accessed the site, and did any deletion of any

 1609:13:00   of the workspace; and in fact, he could not find any evidence

 1709:13:03   that the workspace had been deleted.

 1809:13:06             THE COURT:    I mean, then where is the information

 1909:13:08   then?

 2009:13:09             MS. CALIN:    I'm sorry?

 2109:13:10             THE COURT:    Where is it?

 2209:13:11             MS. CALIN:    I don't know.

 2309:13:14             THE COURT:    But Google says the only way it could

 2409:13:16   have been deleted would have been for the administrator, or

 2509:13:18   the one phrase, the super administrator.        There was no




                       AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
Case 2:22-cv-06515-MWF-AGR Document 143 Filed 03/28/24 Page 9 of 29 Page ID #:5655
                                                                        5



  109:13:21   administrator except for Mr. Angelone.

  209:13:23             MS. CALIN:    Well, at that time, I don't believe

  309:13:25   Mr. Angelone was the administrator on October 10th when this

  409:13:28   was supposedly deleted.      He was not the administrator.

  509:13:31             THE COURT:    But what I'm saying is that no one else

  609:13:34   was the administrator because there was either a lapse or it

  709:13:38   reverted back to him.

  809:13:40             MS. CALIN:    Roxanne Taylor was the administrator at

  909:13:44   that point, but she had been named the administrator, I

 1009:13:47   believe on October 6th.

 1109:13:47             Is that correct?

 1209:13:47             MR. ANGELONE:    October 6th.

 1309:13:48             MS. CALIN:    October 6th she was named the

 1409:13:50   administrator.

 1509:13:51             THE COURT:    Yeah, but was never able to exercise

 1609:13:52   that on evidence that is largely undisputed.

 1709:13:57             But anyway, go ahead with your argument, please.

 1809:13:59             MS. CALIN:    So the other issues, Your Honor has

 1909:14:03   imposed a course of sanctions for each day that Mr. Angelone

 2009:14:07   does not do certain things, and it's his contention that he

 2109:14:10   could not do those things.

 2209:14:12             The supposed nine Icelandic domains that need to be

 2309:14:18   returned to the plaintiffs, he has no access to those.          They

 2409:14:21   are owned by Sean Merrick, and he has -- he has the documents

 2509:14:26   to show that Mr. Merrick is now the owner of those domains.




                       AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:22-cv-06515-MWF-AGR Document 143 Filed 03/28/24 Page 10 of 29 Page ID
                                  #:5656                              6



 109:14:30   Mr. Angelone cannot transfer them.

 209:14:33              THE COURT:    All right.   Let me -- and I'll --

 309:14:37   certainly, you will have much more opportunity to argue, but

 409:14:41   let me just briefly hear from the plaintiffs in regard to two

 509:14:45   things:     One is Mr. Watts's report, and why you feel it

 609:14:51   doesn't, at a minimum, raise factual issues; and then second,

 709:14:54   this assertion that we just heard about the owner of the

 809:14:58   domains.

 909:14:59              MR. HINKLE:    Thank you, Your Honor.

1009:15:01              First, with respect to Mr. Watts's report, we

1109:15:06   consider the entire report to be unreliable for numerous

1209:15:10   respects:     Mr. Watts's report does not address most of the

1309:15:16   evidence that was presented showing that the Google Workspace

1409:15:20   account was deleted.

1509:15:22              For example, there isn't a single reference in his

1609:15:25   report to all of the notes that Your Honor referenced from

1709:15:28   Google, stating that only the administrator of the account

1809:15:33   can delete the account; and also, that it was the prior

1909:15:38   administrator, who was only Mr. Angelone, that could delete

2009:15:42   the account.

2109:15:43              There are numerous more examples of that, and

2209:15:46   Mr. Watts seemingly focuses on one issue, which is the

2309:15:50   administrator logs, which he claimed was the only evidence

2409:15:57   that shows that Mr. Angelone did not delete the account.

2509:16:02              But even that, Your Honor, was refuted by the




                        AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:22-cv-06515-MWF-AGR Document 143 Filed 03/28/24 Page 11 of 29 Page ID
                                  #:5657                              7



 109:16:05   evidence, including all of the ISP logs.

 209:16:10            One of the things that jumps out at you when you

 309:16:13   read Mr. Watts's report, is his own statement that

 409:16:18   Mr. Angelone received his administrative privileges back on

 509:16:26   October 7th.   That is in Mr. Watts's report.      However,

 609:16:30   Mr. Angelone in his declaration states that he gave Ms.

 709:16:34   Taylor the administrator rights back on the 6th.        Obviously,

 809:16:39   that is in conflict, and obviously, it's another indication

 909:16:42   that Mr. Angelone is not telling the truth.       And then there

1009:16:46   is no explanation from Mr. Watts as to what happened after

1109:16:52   that.

1209:16:53            Mr. Watts also does not even address the notion that

1309:17:00   Google returned the -- or the new account that Mr. Angelone

1409:17:05   is saying that Ms. Taylor received was the account that was

1509:17:10   the new account that was only available because Mr. Angelone

1609:17:16   had deleted the account.

1709:17:17            I mean, so we could go on and on and on with

1809:17:20   different examples as to why Mr. Watts's report is entirely

1909:17:26   unreliable, and in essence, to the extent he does say things,

2009:17:32   they are consistent with the plaintiffs' position in this

2109:17:34   case.

2209:17:35            THE COURT:    All right.   Let me -- let's go back to

2309:17:38   the defense.

2409:17:39            What further arguments on the defense, and why there

2509:17:42   is not clear and convincing evidence of the violations of




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:22-cv-06515-MWF-AGR Document 143 Filed 03/28/24 Page 12 of 29 Page ID
                                  #:5658                              8



 109:17:46   both the preliminary injunction and then the spoliation.

 209:17:50            MS. CALIN:    Your Honor, it's our position that a lot

 309:17:55   of the information that Ms. Burke, plaintiffs' expert, is

 409:18:00   relying on is not based on actual facts, but on speculation.

 509:18:05            As Mr. Watts -- and I disagree with Mr. Hinkle

 609:18:09   regarding Mr. Watts's report.     I believe that he did address

 709:18:13   all of the points in Ms. Burke's report, and he found that

 809:18:19   there was absolutely no actual hard evidence to show that

 909:18:25   Mr. Angelone accessed the Google Workspace account and

1009:18:30   deleted it.

1109:18:31            And I think for a full inquiry we need to at least

1209:18:35   have a hearing with all the parties -- we haven't even taken

1309:18:39   depositions yet, so we don't know what Ms. Taylor did with

1409:18:42   respect to her use of the Workspace.      Her declaration

1509:18:46   contains a number of allegations which my client disputes.

1609:18:51   And I think we need to be able to depose the experts, both

1709:18:56   experts, both Ms. Burke and Mr. Watts, to explain the reasons

1809:18:59   for their findings.    And this is just simply too early a

1909:19:05   stage to grant this kind of very severe sanction to

2009:19:08   Mr. Angelone.

2109:19:09            This is an area that is highly complex, and frankly,

2209:19:15   I'm not sure I completely understand how these domains work.

2309:19:19   But the fact is, you have to look at what is available in

2409:19:24   terms of the forensic evidence.

2509:19:27            And what Mr. Watts has said is looking at the




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:22-cv-06515-MWF-AGR Document 143 Filed 03/28/24 Page 13 of 29 Page ID
                                  #:5659                              9



 109:19:31   documents produced by Google, there is simply no evidence

 209:19:34   that Mr. Angelone actually did have the kinds of privileges,

 309:19:37   or that he did delete the Workspace.      And I think that it's

 409:19:43   conjecture to say that he did.

 509:19:45              If Your Honor would like, you can certainly ask

 609:19:49   Mr. Angelone questions regarding that issue.

 709:19:52              THE COURT:   Look, if he -- if we are going to go

 809:19:55   down that route, then he'll be put under oath.        He will

 909:19:59   testify.     He will be subject to the penalties for perjury.

1009:20:02   He will be cross-examined.      He will face the risk of my

1109:20:05   sending the transcript to the U.S. Attorney's Office for

1209:20:08   their examination.      I'm just not going to ask him questions

1309:20:10   while he's sitting there.

1409:20:12              The -- look, Mr. Angelone may face sanctions, either

1509:20:25   because of the attorney's fees, or because of what the jury

1609:20:28   is instructed in regard to the spoliation.

1709:20:31              The greater risk to him is obviously the violation

1809:20:35   of the preliminary injunction, because that was not an order

1909:20:39   from the plaintiffs, it was an order of the Court.

2009:20:42              And I'll impose the money.    If he says, which might

2109:20:47   be plausible, especially if he's going to owe a huge amount

2209:20:50   in attorney's fees, that he simply can't afford that amount,

2309:20:53   then the default would be to imprison him, the same way

2409:20:57   someone who doesn't testify.      I can certainly do that on

2509:21:01   civil.     And I will give a pen and the documents he needs to




                        AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:22-cv-06515-MWF-AGR Document 143 Filed 03/28/24 Page 14 of 29 Page ID
                                  #:5660                              10



 109:21:05   transfer everything, and he'll either cooperate with that, or

 209:21:07   he won't, and he'll sit in jail until he's willing to do

 309:21:10   that.   I won't do that without obviously hearing -- letting

 409:21:14   him be examined and cross-examined, but that is the risk that

 509:21:17   he's facing.    It's a much greater risk than the spoliation.

 609:21:21              Even if I were to credit what Mr. Watts is saying

 709:21:23   about the spoliation, and it seems to me the plaintiffs have

 809:21:26   done a good job of indicating why it was deleted, and the

 909:21:30   only possible person was Mr. Angelone, like I said, that is

1009:21:36   simply not enough, because there is still all the other

1109:21:39   issues which have been raised, including the links to his

1209:21:44   house and to the alias, which he has admitted under oath that

1309:21:47   he used.

1409:21:48              So I haven't heard you address that at all.

1509:21:50              MS. CALIN:   Your Honor, so again, this use of the

1609:21:53   Jacky Jasper name, Mr. Angelone testified in the prior case

1709:21:58   not that he was Jacky Jasper, but that I believe that he was

1809:22:02   associated with that name through another individual.

1909:22:04              THE COURT:   And in this case, he testified by

2009:22:07   signing a declaration under oath that he had nothing to do

2109:22:09   with that name.    Those two things seem flatly inconsistent.

2209:22:13              And I remind you that it is possible, for a perjury

2309:22:16   violation, to convict solely on the basis of two flatly

2409:22:22   inconsistent statements under oath.      The jury is free to

2509:22:25   convict for perjury if on one occasion the defendant said the




                        AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:22-cv-06515-MWF-AGR Document 143 Filed 03/28/24 Page 15 of 29 Page ID
                                  #:5661                              11



 109:22:30   light is red -- was red, and on the second occasion said the

 209:22:34   light was green, without having to find beyond a reasonable

 309:22:37   doubt whether the light was red or green.       The jury doesn't

 409:22:39   find that the light was red or green, the jury determines

 509:22:42   that the defendant is lying.

 609:22:45              MS. CALIN:    I understand, Your Honor.

 709:22:46              Again, it's Mr. Angelone's position that the name

 809:22:50   Jacky Jasper is used by this individual Sean Merrick, who

 909:22:54   also owns the so-called nine Icelandic domains.

1009:22:59              And, again, Mr. Angelone has no control over those.

1109:23:02   We have documents to show that those domains are registered

1209:23:05   to an individual named Sean Merrick.

1309:23:07              THE COURT:    And have those been provided to the

1409:23:09   defense?     I mean, to the plaintiffs?

1509:23:16              MR. ANGELONE:     It's their discovery.

1609:23:16              MS. CALIN:    Apparently, this is the plaintiffs'

1709:23:18   discovery.     It was sent to counsel.    Precise Subpoena Service

1809:23:28   subpoenaed these records, and they were sent to plaintiffs'

1909:23:30   counsel.

2009:23:30              THE COURT:    All right.   Again, what is the

2109:23:33   plaintiffs' response to Sean Merrick?

2209:23:40              MR. HINKLE:     Thank you, Your Honor.

2309:23:44              Jacky Jasper is a, at least a moniker pseudonym used

2409:23:51   by Angelone in numerous ways over the course of many, many

2509:23:55   years.     The subpoena return that counsel for the defendant is




                        AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:22-cv-06515-MWF-AGR Document 143 Filed 03/28/24 Page 16 of 29 Page ID
                                  #:5662                              12



 109:24:00   referring to provides a lot of information about who the

 209:24:05   owner of the Icelandic domain is.

 309:24:09              On that subpoena return, there are numerous

 409:24:11   references to Jacky Jasper.      There is an e-mail address for

 509:24:17   Jacky Jasper.    There is the owner, the owner, the

 609:24:20   organization that is referred to as the owner of the -- all

 709:24:25   of the domains is Jacky Jasper.

 809:24:28              THE COURT:    Counsel, my question was about Sean

 909:24:30   Merrick.

1009:24:31              MR. HINKLE:    I believe that there is a name Sean

1109:24:35   Merrick on the return, and all that name -- we don't know who

1209:24:40   Sean Merrick is, but the point, Your Honor, is simply that,

1309:24:46   again, we have a connection between Mr. Angelone, and the

1409:24:51   name Jacky Jasper, and the Icelandic domains.

1509:24:57              Whether Sean Merrick is an actual real person or

1609:25:00   not, we don't know.      We certainly looked for a person named

1709:25:04   Sean Merrick; haven't found a person named Sean Merrick.           But

1809:25:08   even if Sean Merrick is an actual person, we know that Sean

1909:25:12   Merrick is related to Jacky Jasper based on the returns.           And

2009:25:16   we also know that Your Honor -- in Your Honor's order, that

2109:25:20   the conduct of Mr. Angelone would violate the preliminary

2209:25:28   injunction if, in fact, there is another person aiding and

2309:25:31   abetting him in the course of his violations.

2409:25:34              THE COURT:    All right.   And what is the -- thank

2509:25:37   you, counsel.    What is the plaintiffs' position as to who




                        AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:22-cv-06515-MWF-AGR Document 143 Filed 03/28/24 Page 17 of 29 Page ID
                                  #:5663                              13



 109:25:40   Sean Merrick is, why he would have an interest in these

 209:25:44   domain names, what prompted him to get involved in this?

 309:25:47   What is -- or is the plaintiff -- I mean, is the defense

 409:25:51   position here that Sean Merrick is just as great a mystery to

 509:25:58   the defense as he is to the plaintiffs?

 609:26:01            MS. CALIN:    He's a real person, Your Honor, and

 709:26:03   Mr. Angelone knows him.

 809:26:04            At the very least, what we would like to do is allow

 909:26:08   time to submit this information to Your Honor to take a look

1009:26:12   at.

1109:26:12            In fact, the name Jacky Jasper has been used by

1209:26:16   other individuals, as well.     It's not something that is --

1309:26:19   that is only used in this instance.      But Sean Merrick, who is

1409:26:25   a real person that we can try to get a declaration from

1509:26:28   Mr. Merrick -- is that possible?

1609:26:28            MR. ANGELONE:    We can.

1709:26:30            MS. CALIN:    We can get a declaration from

1809:26:32   Mr. Merrick indicating that he is, in fact, or he uses the

1909:26:35   name Jacky Jasper.

2009:26:37            But I can provide information to Your Honor showing

2109:26:39   that other individuals also use that name.       So we cannot say

2209:26:44   that Jacky Jasper, although mentioned in this document, is

2309:26:49   Mr. Angelone, because it's used by other people, as well.

2409:26:52            THE COURT:    All right.   By noon tomorrow, you

2509:26:54   will -- you may submit those documents, but you will also put




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:22-cv-06515-MWF-AGR Document 143 Filed 03/28/24 Page 18 of 29 Page ID
                                  #:5664                              14



 109:26:58   in a submission to the Court, and obviously then serve and

 209:27:02   provide to the plaintiffs, who Sean Merrick is, every means

 309:27:08   you have of what his address is, what his telephone number

 409:27:12   is, what his e-mail is, any other means that you have of

 509:27:17   contacting him, and he'll be subpoenaed, and we'll have an

 609:27:20   evidentiary hearing.     And Mr. Angelone will be able to

 709:27:22   testify, Mr. Merrick will testify, the two experts will

 809:27:25   testify.    And I will then make findings of fact and

 909:27:28   conclusions of law.

1009:27:29              And if I find that there is clear and convincing

1109:27:31   evidence that the preliminary injunction was violated, I will

1209:27:34   then hold Mr. Angelone in contempt and start, as the law

1309:27:42   requires, with monetary sanctions to coerce his compliance.

1409:27:46              If he is unable to pay those sanctions, or refuses

1509:27:49   to do so, then I'll imprison him until he hands over the

1609:27:53   domains.

1709:27:54              MS. CALIN:   Your Honor, if there is an evidentiary

1809:27:56   hearing, will we be given sufficient time to arrange for the

1909:28:00   experts to be here?

2009:28:00              THE COURT:   Yes.   I'll let you work it out with

2109:28:04   them, but it's going to be quickly.      I'll issue an order and

2209:28:10   then -- and since you are claiming that the expert testimony

2309:28:14   will relate to the spoliation, I'll hold off on that, as

2409:28:18   well, and on the attorney's fees.      But I'll definitely --

2509:28:25   I'll issue -- I'll definitely want this sometime in the near




                        AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:22-cv-06515-MWF-AGR Document 143 Filed 03/28/24 Page 19 of 29 Page ID
                                  #:5665                              15



 109:28:28   future.   I'm going to look at my schedule.      So I'll say that

 209:28:32   it has to be arranged on certain dates, and then you will

 309:28:34   have to talk to the experts and find out when they are

 409:28:37   available, but this isn't going to drag out.

 509:28:39             MS. CALIN:    I understand.   I understand, Your Honor.

 609:28:41             So we will have a declaration submitted by noon

 709:28:44   tomorrow regarding this information regarding Jacky Jasper,

 809:28:47   and then we'll wait for Your Honor.

 909:28:49             THE COURT:    Including who Sean Merrick is.      Anything

1009:28:51   you know about, you know, where does he live?        What is his

1109:28:56   telephone number?      What are his e-mails?   Who is he?    I mean,

1209:28:59   what line of work is he in?      Anything which is known to the

1309:29:02   defense to establish that he is, in fact, a real person.

1409:29:07   And, again, with an aim sufficient that the plaintiffs will

1509:29:12   be able to subpoena him to the hearing.

1609:29:14             MS. CALIN:    Yes.   Of course.

1709:29:15             THE COURT:    All right.   Yes, counsel?

1809:29:17             MR. HINKLE:    Just one point that I would like to

1909:29:19   respond to with respect to the Sean Merrick subpoena issue I

2009:29:23   neglected to mention.      It will just be a couple of seconds.

2109:29:26             THE COURT:    Yes.

2209:29:27             MR. HINKLE:    First, I want to make sure that it's

2309:29:35   clear that the entirety of the return, which includes the

2409:29:40   Sean Merrick name, is already part of the record at

2509:29:42   Exhibit 58.




                       AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:22-cv-06515-MWF-AGR Document 143 Filed 03/28/24 Page 20 of 29 Page ID
                                  #:5666                              16



 109:29:43             Secondly, one of the domain names that are part of

 209:29:48   the record, and part of the subpoena, is connected to the

 309:29:52   Sean Merrick name, is the "aventviii" domain, and that domain

 409:30:00   is connected to Sean Merrick, connected to all of the Jacky

 509:30:04   Jasper e-mails and companies that we referred to earlier.

 609:30:08   That is also a domain that Mr. Angelone, as we noted in our

 709:30:12   papers --

 809:30:14             THE COURT:    Yes.

 909:30:14             MR. HINKLE:    -- transferred to Ms. Roxanne Taylor,

1009:30:18   evidencing his control over the domains.

1109:30:22             THE COURT:    All right.   Yes, I saw that in your

1209:30:24   papers.

1309:30:25             All right.    So I'll get out on order indicating when

1409:30:29   I'm available for the hearing.       You will arrange for the

1509:30:32   experts then on that, and we will go forward.

1609:30:38             All right.    Thank you, counsel.

17                               *****      *****       *****

18

19

20

21

22

23

24

25




                       AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:22-cv-06515-MWF-AGR Document 143 Filed 03/28/24 Page 21 of 29 Page ID
                                  #:5667                              17



 1          I certify that the foregoing is a correct transcript from the

 2          record of proceedings in the above-titled matter.

 3

 4

 5

 6          ---------------------------

 7

 8          Amy C. Diaz, RPR, CRR                 March 19, 2024

 9          S/   Amy Diaz

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
Case 2:22-cv-06515-MWF-AGR Document 143 Filed 03/28/24 Page 22 of 29 Page ID
                                 #:5668




               Exhibit 2
        Case 2:22-cv-06515-MWF-AGR Document 143 Filed 03/28/24 Page 23 of 29 Page ID
                                         #:5669

Lawrence Hinkle

From: Sandy Calin <scalin@kdeklaw.com>
Sent: Thursday, March 28, 2024 12:12 PM
To: Lawrence Hinkle
Cc: jt@jtfoxlaw.com; 'Justin Kian'; Yolanda Nelson; Stephanie Jones Nojima
Subject: RE: Hidden Empire v. AOne



Lawrence,


I agree that we disagree with what is required. Nowhere did Judge Fitzerald indicate that he needs to examine Sean
Merrick on the issues you raised in your email below. The focus should be on compliance with the Preliminary
Injunction, and one of those issues of compliance is the transfer of the nine "lcelandic domains." As has been indicated
before, and as I am certain FTI can confirm, five of the domains are no longer registered to anyone and your clients are
free to register them.


With respect to the other four domains, Sean Merrick is prepared to transfer them to Roxanne Taylor today. There is no
need for FT! to be involved. The transfer can be made by Sean Merrick directly to Ms. Taylor. Please confirm that her
Namecheap username is "roxanneavent" and the transfer will be made. As I said before, Sean Merrick is not available to
appear at the hearing, however once the domains are transferred, there is no need for his appearance.


Thanks,
Sandy


From: Lawrence Hinkle <lhinkle@sandersroberts.com>
Sent: Wednesday, March 27, 2024 2:42 PM
To: Sandy Calin <scalin@kdeklaw.com>
Cc: jt@jtfoxlaw.com; 'Justin Kian' <justin@jtfoxlaw.com>; Yolanda Nelson <ynelson@kdeklaw.com>; Stephanie Jones
Nojima <sjonesnojima@sandersroberts.com>
Subject: RE: Hidden Empire v. AOne


[EXTERNAL SENDER]


Sandy -


Thanks for your patience with me getting back to you. We disagree with your assessment of what is required.


First, because Judge Fitzgerald ordered Sean Merrick to appear at the evidentiary hearing, Defendants cannot
unilaterally determine that his appearance is not necessary. Also, because Judge Fitzgerald stated the parties can seek to
reschedule the hearing, Defendants cannot avoid having Mr. Merrick testify by claiming he is unavailable.


You state that there is no need for Mr. Merrick's testimony because of his representations regarding the 9 HEFG
domains. That is not an accurate representation of why Judge Fitzgerald stated Mr. Merrick must appear to testify.
During the hearing, Judge Fitzgerald raised a number of concerns about Mr. Merrick such as the following:


    1) Who is Mr. Merrick and what is his relationship to Defendant Derrick Angelone?
    2) What does Mr. Merrick do for a living?
    3) Why does Mr. Merrick have an interest in the domains at issue?
    4) What prompted Mr. Merrick to get involved with the HEFG dispute?
        Case 2:22-cv-06515-MWF-AGR Document 143 Filed 03/28/24 Page 24 of 29 Page ID
                                         #:5670
We expect these and other issues to be addressed through Mr. Merrick's live testimony at the hearing-through both
direct and cross-examination. A declaration alone is not sufficient.


Therefore, we again ask that you provide dates Mr. Merrick is available to testify. If we do not receive dates from you by
10:00 am tomorrow morning, we will immediately seek the Court's assistance to resolve this issue.


We are still waiting for you to provide Mr. Merrick's availability for a call with FTI to discuss the transfer of the HEFG
domains in his possession to HEFG. Please provide those dates to us by 10:00 am tomorrow morning as well.


Also, whether Mr. Merrick knows our clients or has worked with them in the past is irrelevant. Nonetheless, we can
confirm that our clients do not believe they know Mr. Merrick or have ever worked with him. What information are you
relying on to state they worked together?


Sincerely,




 S3V
               Lawrence C. Hinkle II, MANAGING PARTNER
               lhinkle@sandersroberts.com


               Sanders Roberts LLP
  SANDERS 1055 West 7th Street, Suite 3200 | Los Angeles, CA 90017
  ROBERTS p 213 426 5000 x 2210 I f 213 234 45811 sandersroberts.com



From: Sandy Calin <scalin@kdeklaw.com>
Sent: Monday, March 25, 2024 2:30 PM
To: Lawrence Hinkle <lhinkle(a)sandersroberts.com>
Cc: it@jtfoxlaw.com; 'Justin Kian' <iustin(5)jtfoxlaw.com>; Yolanda Nelson <ynelson@kdeklaw.com>; Stephanie Jones
Nojima <sionesnoiima@sandersroberts.com>
Subject: RE: Hidden Empire v. AOne


Lawrence,


As I said in my earlier email, Mr. Merrick is not available to testify. I will find out his availability to speak with FTI to turn
over the four domains he currently owns. I am sure FTI can verify that the other five domains are available and not
registered to anyone. I can certainly advise the court that Mr. Merrick is not available to testify, and if FTI can confirm
that the five domains are unregistered and available, and that Mr. Merrick can communicate with FTI to turn over the
four domains that he does own, there is no need for his testimony.


Mr. Merrick knows your clients and has worked with them in the past. If the issue with these nine domains can be
resolved now, we will so advise the Court.


Thanks,
Sandy




From: Lawrence Hinkle <lhinkle@)sandersroberts.com>
Sent: Monday, March 25, 2024 2:22 PM
To: Sandy Calin <scalin@kdeklaw.com>
Cc: jt@itfoxlaw.com; 'Justin Kian' <iustin(5)itfoxlaw.com>; Yolanda Nelson <vnelson@kdeklaw.com>; Stephanie Jones
Nojima <sionesnoiima(a)sandersroberts.com>
Subject: RE: Hidden Empire v. AOne
      Case 2:22-cv-06515-MWF-AGR Document 143 Filed 03/28/24 Page 25 of 29 Page ID
                                       #:5671
[EXTERNAL SENDER]


Hi Sandy

Good afternoon. We were actually still waiting to hear back from you regarding when all three of your witnesses are
available for the evidentiary hearing, including Sean Merrick, Darrick Angelone and Rick Watts. To date, you have not
advised when Mr. Merrick is available. As you know, the Court ordered all of them to testify.


Have you communicated with Mr. Merrick about his availability for the evidentiary hearing? If so, what is he saying
about his availability?

We do not believe it wise for the parties to appear at the evidentiary hearing without having confirmed that all of the
witnesses, including Mr. Merrick, will appear to testify. If you are unable to confirm a date Mr. Merrick will appear, then
we should advise the Court of that as soon as possible so the Court can weigh in on the matter.


With respect to the four domains Mr. Merrick is willing to turn over to HEFG, that is something FTI will handle. Please let
us know Mr. Merrick's availability for a call with FTI.


We look forward to hearing from you.


Sincerely,




 s     3       Lawrence C. Hinkle II, MANAGING PARTNER
               lhinkle@sandersroberts.com


               Sanders Roberts LLP
  SANDERS 1055 West 7th Street, Suite 3200 I Los Angeles, CA 90017
  ROBERTS p 213 A26 5000 x 2210 I f 213 234 45811 sandersroberts.com



From: Sandy Calin <scalin@kdeklaw.com>
Sent: Monday, March 25, 2024 12:51 PM
To: Stephanie Jones Nojima <sionesnojima@sandersroberts.com>; Lawrence Hinkle <lhinkle@sandersroberts.com>
Cc: jt@itfoxlaw.com; 'Justin Kian' <iustin@jtfoxlaw.com>; Yolanda Nelson <ynelson@kdeklaw.com>
Subject: RE: Hidden Empire v. AOne


Stephanie and Lawrence,


Where do we stand with changing the date? Mr. Angelone and Mr. Watts are available on April 9 or 11. Unfortunately
Sean Merrick is not available on either date. However, below is the current status of the nine domains in question:


        a. Hiddenempiremediagroup.com
                     Updated 7/7/22
                     Cannot see an ownership transfer
                     May have been an Email account change
                     Registration expired 8/6/23
                     is available (not registered) since 9/19/23
        b. Hiddenempiremedia.com
                     Updated 9/29/2023 hosting moved to new server, company in Germany (SEDO GMBH)
                     remains registered with Name Cheap
                     Is currently registered with Name Cheap
        c. Hiddenempirereleasing.com
        Case 2:22-cv-06515-MWF-AGR Document 143 Filed 03/28/24 Page 26 of 29 Page ID
                                         #:5672
                    4/26/23 possible account email change
                    2/26/24 registration renewed
                    Updated 9/29/2023 hosting moved to new server, company in Germany (SEDO GMBH)
                    remains registered with Name Cheap
                    Is currently registered with Name Cheap
          d. Hiddenempireproductions.com
                    4/26/23 possible account email change
                    9/29/2023 hosting moved to new server, company in Germany (SEDO GMBH)
                    1/22/24 registration renewed
                    remains registered with Name Cheap
                    Is currently registered with Name Cheap
          e. Hiddenempire.productions
                    Cannot see an ownership transfer
                    8/8/23 auto renewed
                    Is available (not registered)
          f. Hiddenempire.media
                    Cannot see an ownership transfer
                    8/8/23 auto renewed
                    Is available (not registered)
          g. Hiddenempiremedia.group
                    Cannot see an ownership transfer
                    8/8/23 auto renewed
                    Is available (not registered)
          h. Hiddenempire.studio
                    Cannot see an ownership transfer
                    8/8/23 auto renewed
                    Is available (not registered)
          i. Hiddenempire.org
                    9/29/2023 hosting moved to new server, company in Germany (SEDO GMBH)
                    1/18/24 registration renewed
                    remains registered with Name Cheap
                    Is currently registered with Name Cheap


As indicated in Mr. Merrick's Declaration, five of the domains are available and may be registered by your clients. With
respect to the other four, he is prepared to hand them over to your clients. Please let me know how best to accomplish
this.


Thanks,
Sandy


From: Stephanie Jones Nojima <sionesnojima@sandersroberts.com>
Sent: Thursday, March 21, 2024 2:49 PM
To: Sandy Calin <scalin@kdeklaw.com>; Lawrence Hinkle <lhinkle@sandersroberts.com>
Cc: jt@itfoxlaw.com; 'Justin Kian' <iustin@itfoxlaw.com>; Yolanda Nelson <ynelson@kdeklaw.com>
Subject: RE: Hidden Empire v. AOne


[EXTERNAL SENDER]


Hi Sandy-

We will check with Erin Burke to see if she is available on the alternate dates you propose. Are Sean Merrick, Mr.
Angelone, and Rick Watts all available on April 9, 11 or 12? Also, you previously sent us a meet and confer letter
        Case 2:22-cv-06515-MWF-AGR Document 143 Filed 03/28/24 Page 27 of 29 Page ID
                                         #:5673
requesting further discovery responses by today, March 21, 2024. As we've previously discussed, we believe the parties
should focus on the pending motion first and then address your discovery. We remain willing to meet and confer with you
over our objections but think those discussions should be tabled until after we have a final ruling on the pending motion.

Best,
Stephanie




  s       3     Stephanie Jones Nojima, PARTNER
                sjonesnojima@sandersroberts.com


                Sanders Roberts LLP
  SANDERS 1055 West 7th Street, Suite 3200 I Los Angeles, CA 90017
  ROBERTS p 213 426 5000 x 9052 | f 213 234 45811 sandersroberts.com

In response to recent events concerning COVID-19, Sanders Roberts LLP is moving to Electronic Mail Service
for all documents. Please e-serve all legal correspondence, motions, discovery and pleadings in place of service
via U.S. mail or other methods that involve delivery of materials to our offices. Please include in your
electronic service all attorneys on the applicable proof of service. Please also ec all e-served documents to the
following address: mail@sandersroberts.com.


NOTICE: CONFIDENTIAL AND PRIVILEGED INFORMATION - This email may contain confidential and privileged
material for the sole use of the intended recipient(s). Any review, distribution or disclosure by others is strictly
prohibited. If you are not the intended recipient (or authorized to receive for the recipient), please contact the sender by
reply email and delete all copies of this message. Any tax advice contained in this email was not intended to be used, and
cannot be used, by you (or any other taxpayer) to avoid penalties under the Internal Revenue Code of 1986, as amended.


From: Sandy Calin <scalin@kdeklaw.com>
Sent: Thursday, March 21, 2024 2:27 PM
To: Lawrence Hinkle <lhinkle@sandersroberts.com>; Stephanie Jones Nojima <sionesnoiima@sandersroberts.com>
Cc: jt@itfoxlaw.com; 'Justin Kian' <iustin@jtfoxlaw.com>; Yolanda Nelson <ynelson@kdeklaw.com>
Subject: Hidden Empire v. AOne


Lawrence and Stephanie,


In Judge Fitzgerald's recent order setting the evidentiary hearing for April 10, neither JT nor I are available that day. He
did say he would entertain changing the date. We would be available on April 9, 11 or 12. Are you available on those
dates?


Thanks,
Sandy



 Sandra Calin
 Partner


                        Kramer, deBoer & Keane, LLP


                        21860 Burbank Boulevard, Suite 370, Woodland Hills, CA 91367
                        Tel: (818) 657-0255 | Fax: (818)657-0256


                        50 California Street, Suite 1500, San Francisco, CA 94111

                                                                5
     Case 2:22-cv-06515-MWF-AGR Document 143 Filed 03/28/24 Page 28 of 29 Page ID
                                      #:5674
                        Tel: (415) 933-7855 | Fax: (415)933-7850


                         Cell: (818)469-6255 | scalin@kdeklaw.com


Los Angeles | Riverside-San Bernardino | Orange-San Diego | Northern California | Nevada


Visit our website at www.kdeklaw.com for additional information on Kramer deBoer& Keane.


This email, together with any attachments, is confidential and intended solely for the use of the individual to
whom it is addressed. If you are not the intended recipient, you have received this email in error and any use,

dissemination, forwarding, printing, or copying of this email is strictly prohibited. If you have received this email
in error, please destroy it and contact the sender by email or by telephone as listed above.
Case 2:22-cv-06515-MWF-AGR Document 143 Filed 03/28/24 Page 29 of 29 Page ID
                                 #:5675


   1                                          PROOF OF SERVICE

   2                                     (CODE CIV. PROC. § 1013A(3))

   3                          STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

   4          I am employed in the County of Los Angeles, State of California. I am over the age of 18
       years and am not a party to the within action; my business address is 1055 West 7th Street, Los
   5   Angeles, CA 90017. My electronic service address is rbruton@sandersroberts.com.

   6       On March 28, 2024, I served the following document(s) described as
       DECLARATION OF LAWRENCE C. HINKLE, II IN SUPPORT OF REQUEST FOR
   7   ZOOM STATUS CONFERENCE on the interested parties in this action as follows:

   8    JEFFREY S. KRAMER, ESQ.
        SANDRA CALIN, ESQ.                                  Attorneys for Defendants, Darrick Angelone,
   9    KRAMER, DEBOER & KEANE                              AOne Creative, LLC, On Chain Innovations,
        A Limited Liability Partnership                     LLC
  10    Including Professional Corporations
        21860 Burbank Boulevard, Suite 370
  11    Woodland Hills, California 91367
        Tel: (818) 657-0255
  12    Fax: (818) 657-0256
        jkramer@kdeklaw.com
  13    scalin@kdeklaw.com

  14
        J. T. FOX, ESQ.                                     Co-Counsel     for Defendants,  Darrick
  15    JUSTIN KIAN, ESQ.                                   Angelone, AOne Creative, LLC, On Chain
        LAW OFFICES OF JT FOX, APC                          Innovations, LLC
  16    556 S. Fair Oaks Avenue, Suite 444
        Pasadena, California 91105
  17    Telephone: (888) 750-5530
        Fax: (888) 750-5530
  18    jt@jtfoxlaw.com

  19
        ☒       VIA ELECTRONIC MAIL I caused the documents to be transmitted electronically
  20            through the approved vendor for e-filing by electronic service on the party(s) identified on
                the attached service list using the e-mail address(es) shown I did not receive, within a
  21            reasonable time after transmission, any email or other indication that the transmission(s)
                were unsuccessful.
  22

  23            I declare under penalty of perjury under the laws of the State of California that the foregoing
       is true and correct.
  24
              Executed on March 28, 2024, at Los Angeles, California.
  25

  26                   Rhonda Bruton                                  Rhonda Bruton
  27                (Type or print name)                                 (Signature)

  28

                                                      -i-                      Case No.: 2:22-cv-06515-MWF-AGR
                                                PROOF OF SERVICE
